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                 2021-09161 / Court: 164




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r
                                                    CAUSE N0. 202109161
                                                    RECEIPT N0. 879815                   0.00        EML
                                                               **********                    TR # 73842564
    PLAINTIFF: JOHNSON, JENTEL                                                        In The   164th
            vs.                                                                       Judicial District Court
    DEFENDANT: CONTRACT FREIGHTERS INC                                                of Harris County, Texas
                                                                                      164TH DISTRICT COURT
                                                                                      Houston, TX
                                                            CITATION
    THE STATE OF TEXAS
    County of Harris


    T0: CONTRACT FREIGHTERS INC (A FOREIGN FOR-PROFIT CORPORATION)
        MAY BE SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY
        (D/B/A CSC-LAWYERS INCORPORATING SERVICE COMPANY)
        211 E 7TH STREET SUITE 620    AUSTIN TX 78701
        Attached is a copy of PLAINTIFF'S ORIGINAL PETITION

    This instrument was filed on the 12th dav of Februarv, 2021, in the above cited cause number
    and court. The instrument attached describes the claim against you.

         YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
    written answer with the District Clerk who issued this citation by 10:00 a.m on the Monday
    next following the expiration of 20 days after you were served this citation and petition,
    a default judgment may be taken against you. In addition to filing a written answer with the
    clerk, you may be required to make initial disclosures to the other parties of this suit. These
    disclosures generally must be made no later than 30 days after you file your answer with the
    clerk. Find out more at TexasLawHelp.org.
    TO OFFICER SERVING:
          This citation was issued on 22nd day of February, 2021, under my hand and
    seal of said Court.

                                                      HARq~
                                                          s
    Issued at reauest of:                   ₹ QJ;'           CO    MARILYN BURGESS, District Clerk
    BUZBEE, ANTHONY GLENN                   1V:              ~z    Harris County, Texas
    600 TRAVIS, STE. 7300                   =c~~t            ?~f   201 Caroline, Houston, Texas 77002
    HOUSTON, TX 77002                         ~•.,`           yI   (P.O. Box 4651, Houston, Texas 77210)
    Tel: (713) 223-5393                                      ~'
    Bar No_: 24001820                            s'
                                                  ~ ,?~       Generated By: COLLINS, IRIS TROISHA IKS//11687815

                                                OFFICER/AUTHORIZED PERSON RETURN
    Came to hand at              o'clock        .M., on the              day of

    Executed at (address)                                                                                    in

                                    County at             o'clock      .M., on the        day of

               , by delivering to                                                      defendant, in person, a

    true copy of this Citation together with the accompanying                        copy(ies) of the Petition

    attached thereto and I endorsed on said copy of the Citation the date of delivery.
    To certify which I affix my hand officially this _     day of

    FEE: $

                                                                             of                    County, Texas


                                                                    By
                       Affiant                                                         Deputy

    On this day,                                             , known to me to be the person whose
    signature appears on the foregoing return, personally appeared. After being by me duly sworn,
    he/she stated that this citation was .executed by him/her in the exact manner recited on the
    return.

    SWORN TO AND SUBSCRIBED BEFORE ME, on this                      day of
                                                                                                                   A.

                                                                                       Notary Public




    N. INT. C11'R. P                                  °73842564*
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                                                                                                            2/12/2021 1:42 PM
                                                                                 Marilyn Burgess - District Clerk Harris County
                                                                                                      Envelope No. 50621842
                                                                                                                 By: Iris Collins
                                                                                                     Filed: 2/12/2021 1:42 PM

                                  CAUSE NO.

JENTEL JOHNSON                                 §               IN THE DISTRICT COURT OF
                                               §
V.                                             §              HARRIS COUNTY, TEXAS
                                               §
                                               §
                                               §                         JUDICIAL DISTRICT
                                               §
CONTRACT FREIGHTERS, INC.                      §              JURY TRIAL DEMANDED

                               PLAINTIFF'S ORIGINAL PETITION

          NOW COMES Plaintiff, JENTEL JOHNSON, complaining of Defendant CONTRACT

 FREIGHTERS, INC. and for cause of action would respectfully show this Court the following:

 I.       FACTUAL BACKGROUND

         On January 26, 2021 in Harris County, Texas, Defendant's driver Camille Conner operated

an 18-wheeler vehicle in a right-hand lane in the course and scope of her employment with Defendant

Contract Freighters, Inc. Conner failed to yield the right of way on a left hand turn at an intersection,

causing a collision with Plaintiff Jentel Johnson's vehicle which was traveling in the left lane on the

road. Conner's vehicle pushed Plaintiff's vehicle into an electrical box, causing severe damage.

According to Conner, she never saw Plaintiff's vehicle as she was making the improper turn.

         The Harris County Constable Precinct 4 issued a citation to Camille Conner for failing to yield

when turning left.

         The incident caused Plaintiff to suffer severe injuries to his body, including but not limited

to his lower back and neck. Plaintiff continues to suffer from his injuries, and now brings this suit

to recover for his damages.

 II.      DISCOVERY PLAN

          Plaintiff intends to conduct discovery under Leve12 of the Texas Rules of Civil Procedure,

 III.     PARTIES

          Plaintiff Jentel Johnson is an individual residing in Texas.
                                                     1
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         Defendant Contract Freighters, Inc. is a foreign for-profit corporation doing business in

 Texas. Defendant may be served with process via its registered agent: Corporation Service

 Company d/b/a CSC-Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620

 Austin, TX 78701.

 IV.     VENUE AND JURISDICTION

        Venue and jurisdiction are proper. The amount in controversy is within jurisdictional limits of

this Court. Plaintiff seeks over $1,000,000 in damages. Harris County is the proper venue for this

action pursuant to the Texas Civil Practice and Remedies Code, Section 15.001(a)(1), etseq., because

this is the county in which all or a substantial part of the events or omissions giving rise to the claim

occurred.

        Defendant Contract Freighters, Inc. conducts operations here in Texas. Defendant maintains

properties and offices in Laredo, Texas and Dallas, Texas for its operations. Therefore, removal to

federal court is improper.

 V.      CAUSES OF ACTION

         A. NEGLIGENCE

         Plaintiff re-alleges each aforementioned allegation as if fully incorporated below.

         Defendant had a duty to Plaintiff and breached that duty. The negligence of Defendant

 Contract Freighters, Inc. was a proximate cause of Plaintiff's injuries.

         Defendant breached the duty of reasonable care in one or more of the following ways,

 among others:

         1. Failing to pay attention to the surroundings;

         2. Failing to lceep a proper lookout;

         3. Failing to turn when safe;

         4. Failing to observe and follow traffic laws, and to ensure driver observed and followed
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           those laws;

        5. Failing to keep the vehicle under proper control;

        6. Negligently entrusting the vehicle to Camille Conner;

        7. Negligently hiring, supervising and retaining Camille Conner;

        8. Negligently controlling Camille Conner;

       9. Failing to properly supervise and control driver;

        10.Failing to create or enforce safety rules;

        11.Failing to create or enforce safety rules regarding the operation of vehicles; and

        12.Violating various statutes and regulations, including the Texas Transportation Code.

       Each of these acts and omissions, singularly or in combination with others, constitutes

negligence, which was the proximate cause of this incident and the injuries sustained by Plaintiff.

       B. VICARIOUS LIABILITY

       Plaintiff re-alleges each aforementioned allegation as if incorporated below.

       Defendant is responsible for the conduct of its agents due to the relationship that existed,

among other acts and omissions of negligence which may be shown during the trial of this cause.

       C. NEGLIGENCE PER SE

       Plaintiff re-alleges each aforementioned allegation as if fully incorporated below.

Defendant's conduct was negligence per se because of a breach of duty imposed by statute. This

breach caused Plaintiff's injuries. Specifically, there was a breach of duties imposed by statutes

and state law, including, but not limited to, the following:

        1. TEX. TRANSP. CODE ANN. § 545.103: An operator may not turn the vehicle to enter
           a private road or driveway, otherwise turn the vehicle from a direct course, or move
           right or left on a roadway unless movement can be made safely.

       2. TEX. TRANSP. CODE ANN. ~ 545.060: A person commits an offense if the person
          drives a vehicle in willful or wanton disregard for the safety of persons or property.

       Plaintiff is within the class of individuals intended to be protected by these statutes. The
                                                  ~J
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statutes are ones for which tort liability may be imposed. The breach of the statutory duties

proximately caused Plaintiff's injuries.

        D. NEGLIGENT ENTRUSTMENT

        Plaintiff re-alleges each aforementioned allegation as if fully incorporated below:

        Defendant negligently entrusted the vehicle to its driver Camille Conner, as it knew or had

reason to know that Conner should not have been operating the vehicle. This was a proximate cause

of Plaintiff's injuries.

        Each of these acts and omissions, singularly or in combination with others, constitutes

negligence which was the proximate cause of this incident and Plaintiff's injuries.

        E. NEGLIGENT HIRING, SUPERVISION, TRAINING AND RETENTION

        Plaintiff incorporates the previous allegations.

        Defendant Contract Freighters, Inc. is liable for the negligent hiring, supervision, training and

retention of Camille Conner. Defendant Contract Freighters, Inc. had a duty to exercise due care to

secure a competent contractor for the work. Defendant failed to exercise such care and is liable for

the negligent acts of Camille Conner. Defendant owed a duty to Plaintiff to use ordinary care in

retaining Conner. Defendant failed to exercise ordinary care in employing Conner. Defendant retained

the services of Conner but failed to properly screen her driving record as to whether she was properly

trained to do such work. Defendant also failed to remain knowledgeable about Conner's competence

and fitness. Defendant knew or should have known the continued employment/contracting of Conner

would create an unreasonable risk of harm to others. Defendant Contract Freighters knew or should

have known that Coonner was incompetent. Plaintiffs injuries are the result of Conner's

incompetence. Defendant Contract Freighter's failure in this regard proximately caused Plaintiff s

injuries alleged herein.




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                    F. NEGLIGENT EXERCISE OF CONTROL

                    Plaintiff incorporates the previous allegations.

                   At all times, Contract Freighters maintained control over its driver Camille Conner. Contract

        Freighters, Inc. owed a duty to Plaintiff to'exercise control over Ms. Conner.

                    Contract Freighters breached that duty.

                    Contract Freighter's negligent control over Conner proximately caused Plaintiff's injuries.

                    G. GROSS NEGLIGENCE

                    Plaintiff will further show that the acts and/or omissions of Defendant as described above,

            when viewed objectively from their standpoint, involve an extreme degree of risk considering the .

            probability and magnitude of the potential harm to others. Defendant had actual subjective

            awareness of the risk involved, but nevertheless proceeded in conscious indifference to the rights,

            safety, and/or welfare of the others, including Plaintiff. As such, these actions and omissions

            constitute gross negligence and malice as those terms are understood by law.

            VI.      DAMAGES                                   I



                    As a direct and proximate result of the Defendant's negligent acts and/or omissions, Plaintiff

            has suffered substantial damages for which they seek recovery from Defendant. Plaintiff prays that
            ,                                                                                                        r

            they recover a judgment from Defendant for damages in excess of $1,000,000 and that he recovers

-   -       from Defendant for the following:

            a.       Physical pain and suffering in thepast;

            b.       Physical pain and suffering in the future;

            C.       Mental anguish in the past;

            d.       Mental anguish in the future;

            e.       Physical impairment in the past;

            f.       Plaintiff will, in all reasonable probability, suffer physical impairment in thefuture;

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g.       Reasonable medical care and expenses in the past. Plaintiff incurred these expenses for the

         necessary care and treatment of injuries resulting from the incident complained of herein,

         and such charges were reasonable and were usual and customary charges for such services;

h.       Plaintiff will, in all reasonable probability, incur reasonable and necessary medical care and

         expenses in the future;

         Disfigurement in the past;

         Disfigurement in the future;

         Loss of earning capacity in thepast;

         Plaintiff will, in all reasonable probability, incur loss of earning capacity in the future;

         Loss of household services in thepast;

         Loss of household services in the future;

o.       Cost of monitoring and prevention in the future;

P.       Punitive damages in such amount as may be found proper and just under the facts and

         circumstances as determined by the jury;

q.       Costs of suit;

r.       Prejudgment and post judgment interest; and

s.       All other relief to which Plaintiff may be justlyentitled.

         Because of the egregious nature of the actions of the Defendants, Plaintiff seeks punitive

damages.



VII.    REOUEST FOR JURY TRIAL

        Plaintiff respectfully demands a jury trial and tenders the appropriate fee.

VIII. PRAYER

        By reason of all the above and foregoing, Plaintiff is entitled to recover from Defendant

                                                     .1
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the damages set forth in this petition, jointly and severally, within the jurisdictional limits of this

Court. Plaintiff seeks damages over $1,000,000. Plaintiff also seeks pre- and post judgment

interest at the maximum legal rate, costs of court, and any other relief to which Plaintiff may be

justly entitled.




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                                       Respectfully submitted,

                                       THE BUZBEE LAW FIRM

                                       By: /s/Anthony G. Buzbee
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                                       Ryan S. Pigg
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                                       ATTORNEYS FOR PLAINTIFF




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